
36 So.3d 920 (2010)
Amada LAMA, Appellant,
v.
MIAMI-DADE COUNTY, Appellee.
No. 1D10-1467.
District Court of Appeal of Florida, First District.
June 9, 2010.
Richard A. Sicking, Coral Gables, for Appellant.
Douglas W. Rice, Assistant County Attorney, Miami, for Appellee.
PER CURIAM.
Upon review of Appellant's response to this Court's show cause order of April 14, 2010, we dismiss this appeal because the order on appeal is neither a final order nor a non-final order appealable pursuant to Florida Rule of Appellate Procedure 9.180. Here, the Judge of Compensation Claims' (JCC's) order effectively purports to reserve jurisdiction on the ripe issue of medical benefits. See Betancourt v. Sears Roebuck &amp; Co., 693 So.2d 680 (Fla. 1st DCA 1997).
DISMISSED.
WOLF, BENTON, and PADOVANO, JJ., concur.
